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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

_________________________________________

IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                              Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                 MDL No. 2570
_________________________________________

This Document Relates to:
      1:18-cv-2552-RLY-TAB Morris
_________________________________________


                     ORDER ON MOTION TO AMEND COMPLAINT

       This matter is before the Court on Plaintiffs’ motion to amend the case caption and

complaint. [Filing No. 9854/10] The motion is granted and Plaintiffs’ amended short form

complaint is deemed filed as of the date of this order. Furthermore, the caption in the member

case, 1:18-cv-2552-RLY-TAB, shall be amended to name the Plaintiffs as ‘John H. Morris’ and

‘Bernadette Morris, Proposed Administrator.’

       Date: 3/6/2019

                                       _______________________________
                                        Tim A. Baker
                                        United States Magistrate Judge
                                        Southern District of Indiana




Distribution to all registered counsel of record via the Court’s ECF system.
Distribution to all non-registered counsel of record shall be made by Plaintiffs’ Lead Counsel.
